            Case 5:17-cv-00240-R Document 32 Filed 03/26/20 Page 1 of 4



                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

(1) VFS US LLC; and (2) VFS LEASING )
CO.                                     )
                                        )
                            Plaintiffs, )
                                        )
v.                                      )               Case No. CIV-17-240-W
                                        )
 (1) COPELAND SERVICES INC., an         )
Oklahoma corporation; (2) COPELAND      )
HOT OIL SERVICE, L.L.C., an Oklahoma )
limited liability company; (3) JANE D.  )
ROBISON, an individual; (4) KELLY L. )
ROBISON, an individual; and (4) KEVIN )
R. COPELAND, an individual,             )
                                        )
                          Defendants.   )


               PLAINTIFFS' MOTION FOR HEARING ON ASSETS
             AS TO DEFENDANTS AND OTHER RELIEF WITH BRIEF

      COMES NOW, Plaintiffs, VFS US LLC and VFS Leasing Co. (hereinafter referred

to collectively as "Plaintiffs" or “Judgment Creditors”) and files this Motion for Hearing

on Assets as to all of the above-named Defendants (sometimes referred to as “Judgment

Debtors”) relating to the two (2) Judgments entered October 23, 2017 and November 21,

2017, for attorney fees and costs, which are attached hereto as Exhibits 1 and 2.

       1.     That the Judgments as against the above-named Defendants were rendered

in the above-entitled cause on October 23, 2017 and on November 21, 2017, as set forth

by the Court and attached hereto as Exhibits 1 and 2.

       2.     That the two (2) Judgments were rendered in favor of VFS Leasing and

VFS US LLC on October 23, 2017 and on November 21, 2017 in the amount of
            Case 5:17-cv-00240-R Document 32 Filed 03/26/20 Page 2 of 4



$73,837.54 and $227,596.11, respectfully, as set forth in Exhibit 1 and 2 attached hereto.

The two (2) Judgments have not been fully satisfied or paid and are due and owing in the

approximate amount of $301,433.65, plus attorney fees and costs as set by the orders of

the Court attached hereto as Exhibit 2.

       3.     Pursuant to Rules 64 and 69, FED.R.CIV.P., and 12 O.S. §842 et seq.,

Plaintiffs are entitled to an Order of this Court requiring the Defendants as Judgment

Debtors, to appear and answer concerning the two (2) Judgments of the District Court

entered on October 23, 2017 and on November 21, 2017 before a Judge or Magistrate

Judge of this Court, and forbidding a transfer or other disposition of any property

belonging to said Judgment Debtors, not exempt by law.

       4.     The Court may further order the Judgment Debtors, named in Exhibit 1 and

Exhibit 2 hereto to pay to the Plaintiffs as Judgment Creditors, or pay the Judgments in

installments, such portions of the non-exempt income, however or wherever earned or

acquired, of the said Judgment Debtors, as the Court may deem proper after due regard

for any payments required to be made by the Judgment Debtors by virtue of law or prior

Order of the Court, or under wage assignments outstanding. See 12 O.S. §850.

       5.     As Judgment Creditors, Plaintiffs move the Court to enter an Order

requiring and directing the Defendants named in the Judgments attached hereto as Exhibit

1 and Exhibit 2 to appear before a District Judge or Magistrate Judge of this Court

pursuant to Rules 64 and 69 FED.R.CIV.P. and 12 O.S. §842 at a specified time and place

to answer questions propounded concerning the property, income, expenses, assets and

liabilities of the Judgment Debtors named in the Judgments attached hereto as Exhibit 1



                                            2
           Case 5:17-cv-00240-R Document 32 Filed 03/26/20 Page 3 of 4



and Exhibit 2, and forbidding said Judgment Debtors from making any transfer or other

disposition of any property, not exempt by law, and any interference therewith pending

such hearing on assets.

      6.     Plaintiffs further move this Court, after the hearing prayed for herein, for an

Order directing said Judgment Debtors named in the attached Judgments, to pay to the

Plaintiffs for application on judgments, such portion of the non-exempt income, however

or wherever earned or acquired, as the Court may deem proper after due regard for any

payments required to be made by virtue of law or prior Order of the Court.

      7.     The relief requested in this Motion is authorized pursuant to 12 O.S. §§842,

844, 849, and 850 which are applicable in this Court pursuant to FED.R.CIV.P. 64 and 69.

      Accordingly, Plaintiffs request the Court to enter an Order for the Judgment

Debtors named in Exhibit 1 and Exhibit 2 to appear before this Court and answer as to his

or her assets and to enter an injunction forbidding transferring, alienating and/or

concealing or encumbering any non-exempt property and for relief under 12 O.S. §844, if

necessary, and for such other relief of which Judgment Creditors, may be entitled. An

Order is submitted with this Motion.

                                         Respectfully Submitted,
                                         /s/ John B. Heatly
                                         John B. Heatly (OBA #4037)
                                         Fellers, Snider, Blankenship,
                                            Bailey & Tippens, P.C.
                                         100 North Broadway, Suite 1700
                                         Oklahoma City, Oklahoma 73102
                                         Telephone: (405) 232-0621
                                         Facsimile: (405) 232-9659
                                         Email: jheatly@fellerssnider.com
                                         ATTORNEYS FOR PLAINTIFFS,
                                         VFS US LLC AND VFS LEASING CO.



                                            3
                 Case 5:17-cv-00240-R Document 32 Filed 03/26/20 Page 4 of 4



                                CERTIFICATE OF SERVICE
       I hereby certify that on the 26 day of March, 2020, I electronically transmitted the
foregoing document to the Clerk of the Court using the ECF System for filing. Based on
the records currently on file, the Clerk of the Court will transmit a Notice of Electronic
Filing to the following ECF registrant:
Daniel P. Stake, Esq.                             Copeland Hot Oil Service, L.L.C.
stakelawoffice@gmail.com                          c/o Registered Agent, Kevin R. Copeland
Attorney for Defendants                           607 S. Dunlap
                                                  Hennessey, OK 73742
Copeland Services Inc.                            Jane D. Robison
c/o Registered Agent, Jane D. Robison             800 N. Mitchell Road
526 N. Cimarron Street                            Hennessey, OK 73742
Hennessey, OK 73742
Kelly L. Robison                                  Kevin R. Copeland
800 N. Mitchell Road                              526 N. Oak
Hennessey, OK 73742                               Hennessey, OK 73742



                                           /s/ John B. Heatly
                                           John B. Heatly
84196/835420v2




                                              4
